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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                           Case No. 0:17-cr-00064-DWF-KMM

                      Plaintiff,

 v.                                                         REPORT AND
                                                         RECOMMENDATION
 EDWARD S. ADAMS,

                      Defendant.



       This matter is before the Court on Edward S. Adams’s Motion to Dismiss Counts
15–17 of the Superseding Indictment. [Def.’s Mot., ECF No. 241.] Counts 15–17 charge
Mr. Adams with making and subscribing false tax returns for the years 2008, 2009, and
2010. [First Superseding Indict. ¶¶ 66–67.] Mr. Adams argues that he cannot be
prosecuted for allegedly submitting false returns during these years because he entered an
agreement with the government through the Internal Revenue Service’s (“IRS”)
Voluntary Disclosure Program that fully resolved any civil and criminal tax liability he
may have had. [See Def.’s Mot. at 1.] For the reasons that follow, the Court recommends
that Mr. Adams’s motion be denied.

I.     Background

       Counts 15–17 of the Superseding Indictment allege that Mr. Adams violated 26
U.S.C. § 7206(1) in 2011 when he amended filed tax returns for the years 2008, 2009,
and 2010. Section 7206(1) provides that “[a]ny person who … [w]illfully makes and
subscribes any return, statement, or other document, which contains or is verified by a
written declaration that it is made under the penalties of perjury, and which he does not
believe to be true and correct as to every material matter … shall be guilty of a felony.”

       In all, Mr. Adams filed three separate sets of personal tax returns for the years in
question. First, Mr. Adams filed tax returns he prepared himself in 2008, 2009, and 2010.
The government asserts that in each of these self-prepared returns, Mr. Adams failed to


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disclose income he obtained from certain accounts he controlled at Venture Bank. He
allegedly made payments to himself and his consulting company from the Venture
accounts and the funds he received purportedly came from the sale of warrants he held in
Apollo stocks.

       In May 2011, he filed amended tax returns for 2008–10 with the help of a CPA
firm, but the government alleges that these amended returns also failed to report the full
amount of money he received in each of those tax years from the Venture accounts. False
statements allegedly made in the 2011 amended returns underlie the criminal charges in
the First Superseding Indictment. [First Superseding Indict. at 20 (Chart); Govt’s Resp. at
4.]

       In May 2014, the SEC subpoenaed documents from Mr. Adams regarding his bank
accounts. [Gov’t Ex. 2, ECF No. 243-2.] In addition to being represented by counsel
before the SEC, later that year, Mr. Adams hired Thomas Brever, an experienced tax
attorney, to represent him in tax matters. In early October 2014, Mr. Brever contacted the
IRS asking it to accept Mr. Adams into a voluntary disclosure program. [Gov’t Ex. 3,
ECF 243-3.] On October 27, 2014, Mr. Brever retained a CPA firm, Murry & Associates,
to assist in the preparation of new returns. [Gov’t Ex. 4, ECF No. 243-4.] The Murry firm
prepared draft returns for Mr. Adams that characterized the income he obtained in 2008,
2009, and 2010 from the sale of warrants as short-term capital gains.

       On November 14, 2014, the IRS notified Mr. Adams that he was cleared for
participation in the Voluntary Disclosure Program. [Gov’t Ex. 6, ECF No. 243-6.] In
response, Mr. Adams represented that he was not under criminal investigation at that time
and that the income he intended to report was not obtained from illegal activity. [Gov’t
Ex. 7, ECF No. 243-7.] He indicated that he was submitting the voluntary disclosure
because “upon review of prior transactions, we determined that income from the sales of
securities had not been included in income in 2008 – 2010. The amended returns include
the previously omitted capital gain income.” [Gov’t Ex. 7, ECF No. 243-7.] According to
the government, the amended returns for 2008–10 that Mr. Adams actually submitted in
connection with the Voluntary Disclosure Program changed the characterization of the
income received in those years from the drafts prepared by the Murry firm. Instead of



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describing the income at issue as deriving from the sale of warrants as the accountant had
done, Mr. Adams described it as resulting from the sale of stock that he held for several
years. This change was significant because income realized from long-term capital gains,
such as from the sale of securities, are taxed at a lower rate than income realized from
short-term capital gains, like that obtained through the sale of warrants. The government
alleges that this characterization of Mr. Adams’s income was false, and was submitted in
an unlawful effort to reduce his tax burden, even after his agreement to participate in the
Voluntary Disclosure Program. [Gov’t Resp. at 6 & n.1, ECF No. 243.]

       On January 20, 2015, the IRS sent Mr. Brever a letter regarding the acceptance of
Mr. Adams and his wife1 into the domestic Voluntary Disclosure Program. [Gov’t Ex. 8,
ECF No. 243-8.] The letter states, “A domestic voluntary disclosure will not
automatically guarantee immunity from prosecution; however, a domestic voluntary
disclosure may result in prosecution not being recommended.” [Id.] Further, it advises
that “[a]cceptance of your client’s domestic voluntary disclosure will also depend upon
whether it is truthful and complete and whether you client cooperates with the IRS in
determining the correct tax liability and makes good faith arrangements with the IRS to
pay in full the tax, interest, and penalties determined by the IRS to be applicable.” [Id.]

       Two months later, on March 20, 2015, the IRS sent Mr. Adams a Form 906
Closing Agreement. [Def.’s Ex. A (“Closing Agreement”), ECF No. 241-1.] Mr. Adams
signed the agreement on March 31, 2015, and the Commissioner of the IRS signed the
agreement on August 17, 2015. [Closing Agreement at 3.] The Closing Agreement
provides that it is between Mr. Adams and the Secretary of Treasury and it is made under
26 U.S.C. § 7121 (which is discussed in more detail below). [Id. at 1.] In the agreement,
Mr. Adams represents that he was engaged in legitimate business activities, that all his
income was “legal source income,” and that he provided correct amended income tax
returns for 2008, 009, and 2010. [Id.] Further, the contract states that:

       the parties have determined it is mutually advantageous for them to enter
       into an agreement finally determining the Taxpayers’ correct income,

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       Mr. Adams and his wife had filed a joint tax return. She has not been charged with
any crime by the United States.


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       correct taxable income, correct income tax liability, additions to the tax,
       applicable penalties and interest for the tax years 2008, 2009, and 2010 on
       terms acceptable to the Internal Revenue Service.
[Id. at 1.] Attached terms and conditions of the Closing Agreement state: “If any
information provided is not materially accurate and complete, the Internal Revenue
Service will not be bound by any agreements or understandings heretofore reached with
the Taxpayers or recited within this Closing Agreement.” [Id. at 4.] And the agreement
states that it “is final and conclusive except: … the matter it relates to may be reopened in
the event of fraud, malfeasance, or misrepresentation of material fact….” [Id. at 3.]

II.    Discussion

       Mr. Adams seeks dismissal of the tax charges against him, Counts 15–17 of the
First Superseding Indictment, because he asserts that his prosecution for those offenses is
barred by the 2015 Closing Agreement. The government argues that Mr. Adams’s motion
should be denied because: (1) it is untimely; (2) it does not present a valid basis for
dismissal under Fed. R. Crim. P. 12; (3) the agreement he entered with the government
did not address criminal prosecution; and (4) even if the agreement did address criminal
prosecution, Mr. Adams provided false information to the IRS, thereby vitiating the
agreement. [Gov’t’s Resp., ECF No. 243.] The Court concludes it is unnecessary to
consider most of the government’s arguments to determine the appropriate disposition of
the motion to dismiss. Because the Closing Agreement’s language and context evinces no
intent to provide Mr. Adams any form of immunity from criminal prosecution, that
agreement does not provide him the protection he seeks. And the text of 26 U.S.C. § 7121
does not require a different interpretation of the agreement at issue. The motion should be
denied.

       A. No Protection from Criminal Prosecution

       For two related reasons, the Court concludes that the Closing Agreement does not
require dismissal of the tax counts in the First Superseding Indictment. First, the Closing
Agreement itself does not indicate that it prohibits a criminal prosecution with respect to
the tax years at issue. Second, the statute under which the Closing Agreement was
entered does not require a different interpretation of the parties’ bargain.


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              1. Language and Context

       Closing agreements entered under 26 U.S.C. § 7121 are governed “by federal
common law contract principles.” United States v. National Steel Corp., 75 F.3d 1146,
1150 (7th Cir. 1996); see also United States v. Basin Elec. Power Coop., 248 F.3d 781,
796 (8th Cir. 2001) (“Federal common law governs the interpretation and construction of
a contract between the United States and another party.”). This requires courts to resort to
general contract principles in interpreting such documents. See United States v. Britt, 917
F.2d 353, 359 (8th Cir. 1990) (noting that plea agreements “are generally governed by
ordinary contract principles”). Courts attempt to “discern the intent of the parties as
expressed in the plain language of the agreement when viewed as a whole.” United States
v. Lewis, 673 F.3d 758, 762 (8th Cir. 2011)). The agreement’s meaning is determined “as
a matter of law when its language is clear and unambiguous, … but may use extrinsic
evidence to clarify the meaning of an ambiguous contract.” Bethlehem Steel Corp. v.
United States, 270 F.3d 135, 139 (3rd Cir. 2001).

       The Court finds that the language in the Closing Agreement is plain and
unambiguous. Its purpose is to carry out Mr. Adams’s interest in resolving any
disagreements about the amounts he owed in income tax for the years in question. The
agreement states, for example, that Mr. Adams “desire[s] to resolve the proper amount of
taxable income, Federal income taxes, penalties and interest for the years 2008, 2009 and
2010, with payment of the agreed liabilities for the income tax, penalties, and interest on
terms acceptable to the [IRS].” [Closing Agreement at 1.] The agreement references a
specific source for the shortfall in Mr. Adams’s payment of income taxes for those tax
years—namely, “missed capital gain income that was not previously reported.” [Id.]

       The terms attached to the Agreement reinforce this reading as well. [Closing
Agreement at 4–5.] Among other matters unrelated to criminal prosecution, the
separately numbered paragraphs of Attachment A to the contract: (1) discuss the specific
amounts of income tax that Mr. Adams underpaid; (2) explain that interest and penalties
are due pursuant to the Internal Revenue Code; (3) prohibit any suit by Mr. Adams for a
refund; (4) relieve the IRS from any of its obligations under the agreement if the
information provided is materially inaccurate or incomplete; (5) authorize to the IRS to



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treat the agreement as null and void if any provision in it is held to be invalid; and
(6) recognize that Mr. Adams consented to assessment and collection of the liabilities for
the income tax, penalties, and interest, and waived several defenses. [Id.] These
provisions overwhelmingly indicate that the purpose of the Closing Agreement was for
Mr. Adams to buy peace with the IRS over his outstanding obligation to pay the income
tax he purportedly owed, not to conclusively foreclose prosecution.

       Meanwhile, nothing in the Closing Agreement explicitly states that the contract
fully and finally resolved the possibility of criminal proceedings. Indeed, the agreement
never mentions criminal prosecution in any way. If Mr. Adams and his tax lawyer
believed they were bargaining for such an important assurance, one would expect them to
have insisted on clear language to that effect. One would expect the government to have
done the same if it was relinquishing the power to seek to hold Mr. Adams accountable
for any suspected criminal activity. However, the contract merely states that the
agreement “is being made by the Commissioner solely for settlement purposes.” [Closing
Agreement at 1.] The absence of explicit language referencing any potential criminal
charges is strong evidence that the parties did not intend the Closing Agreement to
foreclose that possibility. Indeed, the title of the Closing Agreement itself indicates that it
is only “Covering Specific Matters.” [Id.] There is nothing specific in the contract
indicating that it applies to criminal prosecutions, and given the significant focus of the
agreement on finalizing underpaid amounts of income tax, such silence is a sign that
immunity or non-prosecution were not terms agreed upon by the parties. Cf. Bethlehem
Steel Corp., 270 F.3d at 144 (“In light of the Agreement’s self-consciously limited scope,
its silence regarding [the amount of a refund of the method for refund calculation]
unambiguously demonstrates that they were simply not terms agreed upon by the
parties.”). For these reasons, the Court concludes that the Closing Agreement plainly
does not embody an agreement to preclude criminal prosecution or to provide immunity
regarding the tax years at issue.

       Mr. Adams argues that several aspects of the Closing Agreement show the parties
intended to foreclose a future tax-related prosecution. For example, he argues that the
contract’s references to resolving the taxpayer’s tax “liabilities” shows that the parties



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intended to resolve not only civil, but also criminal liability for the tax years at issue.2 He
also asserts that the agreement “invoked the provision in the United States Code that
explicitly discussed resolving criminal liability (Section 7122).” [Def.’s Reply at 8.]
Neither of these arguments persuades the Court that the Closing Agreement supports
Mr. Adams’s motion to dismiss. The Closing Agreement’s references to “income tax
liabilities” and Attachment A’s references to “liabilities for the income tax” appear in a
context clearly aimed at resolving a dispute about how much Mr. Adams would have to
pay. And the Closing Agreement mentions § 7122 only on the signature page, providing
that the contract “is final and conclusive except … it is subject to the Internal Revenue
Code sections that expressly provide that effect be given to their provisions (including
any stated exception for Code section 7122) notwithstanding any other law or rule of
law.” [Closing Agreement at 3.] Mr. Adams does not explain how this reference to
§ 7122 indicates that the parties intended to forbid a criminal prosecution and the Court
cannot find the reference to support such a conclusion. The Court finds neither the use of
the word “liability” nor the mention of a provision of § 7122 evince an intent to extend
criminal immunity; nor do they create an ambiguity about that issue.

       Mr. Adams also argues that consideration of the broader context in which the
Closing Agreement was obtained reveals that the parties intended the contract to
foreclose any future criminal prosecution for the tax years at issue. For example, he notes
that “[a] voluntary disclosure is submitted in the first instance to the IRS Criminal
Investigation Division (“CI”), which is responsible for investigating potential criminal
violations of the Internal Revenue Code.” [Def.’s Mot. at 2.] He asserts that he
“coordinat[ed] with both the criminal and civil components of the IRS to resolve
outstanding issues” with “his 2014 voluntary disclosure submission.” [Id. at 3.] He also
notes that Mr. Brever “sent a letter to the CI Division to begin the voluntary disclosure
process”; that the “CI Division responded and granted Mr. Adams preclearance to make a


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        See Def.’s Mot. at 1 (“Upon completing its review [of Mr. Adams’s voluntary
disclosure documents], the government determined that it was in its best interest to fully
settle any civil and criminal tax liability Mr. Adams may have had for his 2008, 2009,
and 2010 returns.”); id. at 7–11 (arguing that the reference to liability in § 7121 and in the
agreement applies to criminal and civil tax liability).


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voluntary disclosure”; that his “Voluntary Disclosure letter was submitted to the CI
Division”; and that “the CI Division granted preliminary acceptance of his Voluntary
Disclosure.” [Def.’s Reply at 6 (citing Gov’t Exs. 3, 4, 7, and 8).]

       Even if the Closing Agreement’s context should be consulted to determine the
contract’s meaning, the Court finds that the evidence does not support Mr. Adams’s
contention that the parties intended to resolve his potential criminal responsibility
through the agreement. The simple inclusion of the Criminal Investigation Division on
some communications cannot reasonably be read to import a silent-but-binding promise
to foreswear future prosecution. Mr. Adams, an attorney, is not only a sophisticated
taxpayer, but he was represented by counsel throughout this process. If the inclusion of
representatives of the CI in communications about the closing agreement was intended to
secure immunity from criminal liability, it seems impossible to imagine that such an
understanding wouldn’t have been demanded as an explicit provision of the ultimate
contract.

       Perhaps most importantly with respect to the “context” of the agreement, before it
was signed, the IRS informed Mr. Adams in writing that “a domestic voluntary disclosure
will not automatically guarantee immunity from prosecution,” but could only “result in
prosecution not being recommended.” [Gov’t Ex. 8.] Given this warning upon the
government’s preliminary acceptance of his Voluntary Disclosure, the absence of clear
language in the Closing Agreement referencing criminal prosecutions demonstrates that
criminal issues were not covered by the contract.

              2. Section 7121

       Mr. Adams suggests that the Court should read the Closing Agreement differently
based on 26 U.S.C. § 7121, the statute under which the agreement was made. [Def.’s
Mot. at 8–11.] Section 7121(a) provides that “[t]he Secretary [of Treasury] is authorized
to enter into an agreement in writing with any person relating to the liability of such
person … in respect of any internal revenue tax for any taxable period.” The statute itself
does not explicitly state that it authorizes the Secretary to make an agreement concerning
criminal matters, and indeed the relatively short statute never mentions criminal matters
or uses terms such as prosecution.


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       Though § 7121 does not expressly authorize resolution of criminal liability,
Mr. Adams claims that its scope is “far-reaching” and that it permits the formation of
agreements that finally resolve all controversies regarding tax liability, including criminal
matters. [Def.’s Mot. at 9.] In support of this argument, however, he cites only broad
language from non-criminal cases that do not address the applicability of § 7121 closing
agreements to criminal matters. [Id. (citing Wolverine Petroleum Corp. v. Comm’r of
Internal Revenue, 75 F.2d 593, 595 (8th Cir. 1935), and Bankers’ Reserve Life Co. v.
United States, 42 F.2d 313, 383–84 (Fed. Cl. 1930)).] He also relies on a federal income
tax law treatise, but the commentary in the cited section neither discusses the application
of § 7121 closing agreements to criminal matters, nor cites any caselaw doing so. [Id.
(citing 14A Scott D. Shimick, Mertens Law of Federal Income Taxation § 52:5 (2019),
for the unsupported notion that closing agreements under § 7121 are intended to
conclusively resolve all tax liabilities, including criminal matters).] Mr. Adams’s reliance
on the text of § 7121 to read criminal immunity into his closing agreement is
unpersuasive.

       The Eighth Circuit has not addressed whether § 7121 closing agreements can
protect against criminal prosecution. The Court’s own research and the parties’ briefing
suggests this question has not been a subject of frequent litigation. However, the few
cases that have considered the issue undermine Mr. Adams’s position. See United States
v. Mohney, 949 F.2d 1397 (6th Cir. 1991); United States v. Kahnu, 664 F. Supp. 2d 35
(D.D.C. 2009).

       In United States v. Mohney, the government charged Harry Mohney with filing
false individual tax returns under § 7206(1) and with aiding the filing of false tax returns
for his corporation under § 7206(2). 949 F.2d at 1400. A federal investigation revealed
that Mr. Mohney had failed to declare income collected from coin-operated “peep
machines” used by one of his businesses. Id. at 1399. He had entered into a closing
agreement with the government pursuant to § 7121, and moved to dismiss the tax counts
based on that contract. Id. at 1408. “The district court denied the motion to dismiss




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because section 7122,[3] not section 7121, covers compromises regarding criminal
prosecutions, and because there was no evidence on the face of the document indicating
that the parties intended it to preclude criminal prosecution.” Id. The Sixth Circuit
rejected Mohney’s claim that the district court erred in denying the motion because the
failure to mention criminal prosecutions in Section 7121 “suggest[s] that it is not
intended to cover criminal cases,” especially given that Section 7122 clearly addresses
criminal matters. Id. The court also reviewed the closing agreement itself, and concluded
that “[i]t does not discuss criminal liability, penalties, or any obligation on the part of the
government to cease its investigation.” Id. As a result, it was not error for the district
court to conclude that the IRS would not have credibly agreed to have the Section 7121
closing agreement apply to criminal case “‘without reducing that understanding to an
explicit writing.’” Id.

       Mr. Adams argues that Mohney is “distinguishable on [its] facts.” [Def. Reply at 4
n.1.] Unlike his own Closing Agreement, he argues that the contract at issue in Mohney
“did not address the precise matters at issue in the indictment.” [Id.] However, the
Mohney court rejected the argument for dismissal because the agreement itself did not
cover criminal matters and because § 7121’s language does not address criminal liability,
not because of a disconnect between the tax issue covered by the agreement and those at
issue in the criminal case. Mr. Adams’s attempt to distinguish Mohney does not succeed.4

       In Kahnu, Abdul Kahnu was accused of skimming funds from the operation of
several night clubs, and the government eventually executed a search warrant on his
home, discovery approximately $1.9 million in cash inside a safe. 664 F. Supp. 2d at 37.
Kahnu represented that the money belonged to two corporations he controlled. Id. He
entered a closing agreement with the IRS as the corporations’ president, which essentially


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       Section 7122 authorizes the Secretary of Treasury to “compromise any civil or
criminal case arising under the internal revenue laws prior to reference to the Department
of Justice for prosecution or defense….”
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       Mr. Adams also argues that the statutory interpretation analysis in Mohney is
flawed because the court did not address the application of the rule of lenity to § 7121.
[Def.’s Reply at 4; see also Def.’s Mot. at 10–11.] The relevant of the rule of lenity to
Mr. Adams’s motion to dismiss is addressed below in Part II.A.3.


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provided that the $1.9 million would be used to satisfy the companies’ tax liabilities. Id.
at 37–38. In the government’s subsequent prosecution of Mr. Kahnu for aiding the filing
of false tax returns, the government sought to use the seized $1.9 million as evidence
showing that he had indeed skimmed funds from the nightclubs. Id. at 38. Mr. Kahnu
asked the district court to prevent the government from offering evidence of the seized
cash, relying on the closing agreement. Id. The court denied Kahnu’s motion, reasoning
in part that the agreement was “not binding on the government with respect to criminal
prosecutions” because it was entered pursuant to § 7121, and not 7122. Id. at 38–39
(citing Mohney, 949 F.2d at 1408)). The Kahnu court also observed that nothing in the
closing agreement demonstrated that “the parties intended it to extend to the criminal
liability of the Defendant.” Id. at 39.

       Mr. Adams also attempts to distinguish Kahnu, but these efforts fall short as well.
[Def.’s Reply at 4, n.1.] He correctly notes that the Kahnu court rejected the defendant’s
attempted reliance on the closing agreement in part because he was not a party to it and
had merely signed it as president of corporate entities. 664 F. Supp. 2d at 39. But
Mr. Adams ignores the court’s very relevant, direct rejection of the central premise of his
position—i.e., that a § 7121 closing agreement applies to criminal liability, id. at 38–39.

              3. The Rule of Lenity

       Mr. Adams argues that the rule of lenity requires the Court to read both § 7121
and his Closing Agreement as prohibiting his criminal prosecution. He asserts that § 7121
is ambiguous as to whether it provides criminal immunity, and that lack of clarity must be
resolved in Mr. Adams’s favor. [See Def.’s Reply at 4; see also Def.’s Mot. at 10–11
(arguing that the rule of lenity applies to construction of Section 7121 and characterizing
it as a “civil statute with criminal applications” because 26 U.S.C. § 7206(5)(B) makes it
a crime to make false statements in connection with a § 7121 closing agreement).] For
two reasons, Mr. Adams’s reliance on the lenity doctrine is misplaced. First, the rule of
lenity is only applied where “after considering text, structure, history, and purpose, there
remains a grievous ambiguity or uncertainty in the statute … such that the Court must
simply guess as to what Congress intended.” Barber v. Thomas, 560 U.S. 474, 488 (2010)
(cleaned up). Section 7121 does not suffer from any ambiguity or uncertainty leaving the



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Court simply to guess at what Congress meant. Additionally, this Court agrees with the
Mohney court that the explicit reference in § 7122 to criminal immunity demonstrates
that its omission from 7121 is not ambiguous, but clear and intentional. 949 F.2d at 1048.
Any lurking question about the meaning of § 7121 is resolved through traditional rules of
statutory construction, so reference to the rule of lenity is unnecessary.

       Second, the rule of lenity is of no help to Mr. Adams because even were there
ambiguity in § 7121, which is not a criminal statute, it does not generate uncertainty
about the scope of conduct that the law criminalizes. See Liparota v. United States, 471
U.S. 419, 427 (1985) (“[T]he rule of lenity ensures that criminal statutes will provide fair
warning concerning conduct rendered illegal….”). Mr. Adams protests that this is no
barrier to application of the rule because § 7121 has consequences in the criminal arena,
at least according to his reading. He asserts: “[T]he Supreme Court has applied this
principle to a civil tax statute that had ‘criminal applications,’ insofar as a separate statute
established criminal sanctions for failure to comply therewith…. So too here. Section
7206 sets forth criminal penalties for anyone who willfully makes any false statement ‘in
connection with any closing agreement under section 7121.’” [Def.’s Mot. at 10–11
(citing 26 U.S.C. § 7206(5)(B)).]

       To support this argument, Mr. Adams cites the plurality opinion in United States v.
Thompson/Center Arms Co., 504 U.S. 505 (1992), but that case is different in at least one
critical respect. At issue in Thompson/Center was a civil tax provision of the National
Firearms Act (“NFA”) that imposes a tax on anyone who “makes” a short-barreled rifle,
which constitutes a regulated “firearm” for purposes of the NFA. The plurality found
ambiguity in that provision. Even after resorting to several tools of statutory construction,
the plurality was left with uncertainty about whether Thompson/Center “made” a
“firearm” by mailing a pistol with a carbine conversion kit that could later be assembled
into either a long-barrel or short-barreled rifle. The plurality invoked the rule of lenity to
resolve that uncertainty because “[m]aking a firearm without approval” also provides a
basis for criminal punishment in a separate but related statutory provision. Id. at 518.
Even though Thompson/Center was a civil, tax-refund lawsuit initiated by the
manufacturer, resort to the rule of lenity was appropriate because the uncertainty about
congressional intent in the civil tax provision regarding “making” a firearm necessarily


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carried over to a provision that imposes criminal penalties for “making” a firearm. To
ensure that the criminal provision gave appropriate notice of what conduct was
prohibited, application of the rule of lenity to adopt a narrow interpretation in the civil
statute was appropriate.

       This case does not present an analogous situation. The conduct prohibited by 26
U.S.C. § 7206(5)(B)—making false statements in connection with any § 7121 closing
agreement—does not incorporate or depend upon any term in § 7121, ambiguous or
clear. They do not share any language which risks confusion about what conduct by a
taxpayer is criminally prohibited. Accordingly, the Court concludes that the application
of the rule of lenity in Thompson/Center does not support an interpretation that closing
agreements under § 7121 foreclose criminal prosecutions. Mr. Adams’s reliance is
misplaced.

       In sum, the Court concludes that the Closing Agreement did not resolve any issues
related to Mr. Adams’s possible criminal liability. It did not include any immunity from
criminal prosecution and it does not foreclose the government from bringing the tax
counts against Mr. Adams in this case.

       B. Additional Arguments About the Agreement

       Because Mr. Adams’s Closing Agreement does not prohibit trial on the
government’s tax counts, the Court need not address the government’s other arguments—
i.e., that “[t]he motion fails to articulate a valid basis for dismissal” [Gov’t Resp. at 11–
13]; and that Mr. Adams’s false statements to the IRS vitiated the agreement [id. at 17–
20]. However, the Court would not recommend denial of the motion based on the first of
these arguments.

       Contrary to the government’s assertion that Mr. Adams “does not claim … that he
has previously been granted immunity for the offenses charged” [Gov’t Resp. at 11–12],
that is precisely what he claims that the Closing Agreement did. It seems that if a
defendant has an agreement with the government that he cannot or will not be prosecuted
for certain conduct, the only effective way to challenge the government’s breach of such
an agreement (i.e., preventing the prosecution from taking place), is to have the issue



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decided by a pretrial motion. It cannot be that such an argument is only properly raised at
trial or after conviction, and the Court declines to recommend dismissal on this basis.

       With respect to the government’s alternative fraud theory, the Court offers only
one observation. Contrary to Mr. Adams’s assertions, the Court strongly disagrees that its
earlier conclusions regarding the application of the crime-fraud exception to the attorney-
client privilege somehow reflected a final determination that Mr. Adams was truthful in
his 2014 disclosures. Such a question was not before the Court, and its previous ruling on
privilege does not control the government’s prosecution on the tax counts.

       C. Timeliness

       The government also argues that Mr. Adams’s motion to dismiss should be denied
because it is untimely. Specifically, the government correctly notes that the time for filing
pretrial motions is long past, that the Court specifically advised Mr. Adams that “rolling
motions” were not allowed, and that Mr. Adams already moved unsuccessfully for
dismissal of the tax counts and should have raised his challenge based on the Closing
Agreement then. Although the Court agrees with all of these observations, there is an
argument to be made that a motion to dismiss based on a claimed promise of immunity
can be raised at any time and is not governed by the deadlines of Fed. R. Crim. P.
12(b)(3). For this reason, the Court finds it appropriate to address the merits of the
motion rather than decline to do so on procedural grounds.

       Rule 12 of the Federal Rules of Criminal Procedure governs the filing of pretrial
motions, providing that “[a] party may raise by pretrial motion any defense, objection, or
request that the court can determine without a trial on the merits.” Fed. R. Crim. P.
12(b)(1). Though motions to dismiss for lack of subject matter jurisdiction can be made
at any time, certain defenses “must be raised by pretrial motion if the basis for the motion
is then reasonably available and the motion can be determined without a trial on the
merits….” Fed. R. Crim. P. 12(b)(2)–(3). “The court may, at the arraignment or as soon
afterward as practicable, set a deadline for the parties to make pretrial motions and may
also schedule a motion hearing.” Fed. R. Crim. P. 12(c)(1).




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       If a defense is one that must be raised by pretrial motion pursuant to Rule
12(b)(3),5 it is untimely unless raised by the motion-filing deadline set by the court. Fed.
R. Crim. P. 12(c)(3). However, “a court may consider [such a] defense, objection, or
request if the party shows good cause.” Fed. R. Crim. P. 12(c)(3). “Good cause …
requires a showing of cause and prejudice.” United States v. Reichel, 911 F.3d 910, 916
(8th Cir. 2018) (quoting United States v. Paul, 885 F.3d 1099, 1104 (8th Cir. 2018)).

       There is no dispute that Mr. Adams filed his pending motion to dismiss the tax
counts well after the June 1, 2018 deadline established by the Court.6 Referencing Rule
12(b)(3)(A), the government suggests that Mr. Adams’s motion to dismiss asserts a
“defect in instituting the prosecution,” which is waived or forfeited if not filed by the
deadline. [Gov’t Resp. at 10.] And Mr. Adams’s motion could reasonably be construed as
raising a “defect in instituting the prosecution” because it essentially claims that the
government should not have brought tax charges against him that were resolved by the
Closing Agreement. If Mr. Adams’s motion falls in this category, his failure to raise the
Closing Agreement as a basis for dismissal earlier in this case would mean that his
motion is untimely and his argument is forfeit absent a showing of good cause.

       But it is not clear that Mr. Adams’s motion is governed by Rule 12(b)(3), and the
government cites no caselaw to support its assertion. Mr. Adams’s argument that he
cannot or should not be prosecuted because of the Closing Agreement is, in substance,


5
        The types of defenses, objections, and requests that must be raised by pretrial
motions pursuant to Rule 12(b)(3) include “defect[s] in instituting the prosecution” and
“defect[s] in the indictment or information.” Fed. R. Crim. P. 12(b)(3)(A) & (B). In the
first category, examples include, but may not be limited to: “improper venue;”
“preindictment delay;” speedy trial violations; “selective or vindictive prosecution;” and
grand jury errors. Fed. R. Crim. P. 12(b)(3)(A)(i)–(v). On the other hand, defects in the
indictment include: “duplicity” and “multiplicity” challenges; “lack of specificity” in the
indictment; “improper joinder;” and “failure to state an offense.” Fed. R. Crim. P.
12(b)(3)(B)(i)–(v).
6
       ECF No. 88 ¶ 4 (setting an Apr. 30, 2018 deadline); ECF No. 138 ¶ 1 (extending
deadline to 7 days after the District Court’s Order regarding the Mar. 2, 2018 Report and
Recommendation); ECF No. 139 (June 25, 2019 Order adopting Mar. 2, 2018 Report and
Recommendation).


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akin to a defendant’s reliance on an immunity or non-prosecution agreement. Both
similarly assert that the government made an enforceable promise not to prosecute and
breached that promise by filing charges against him. There is some authority for the
proposition that immunity agreements are not Rule 12(b)(3) motions that are forfeit
unless they are made by a court-imposed deadline. See United States v. Pelletier, 898
F.2d 297, 301 (2d Cir. 1990) (“Because the Pelletiers raised their immunity defense to the
indictment at trial along with their evidentiary challenge to the admission of the
immunized evidence at trial, they properly preserved the challenge.”); 1A Wright &
Miller, Fed. Prac. & Proc. Crim. § 193, n.58 & accompanying text (Aug. 2019 Update)
(discussing how the timing for raising an “immunity” defense under Rule 12(b)(3) is not
clear, but suggesting that it does not fall within the class of motions that are forfeit unless
filed by the deadline established by the district court). Thus, Mr. Adams’s motion may
not be the type of motion that can be forfeited, and no discussion of good cause is
required.7

       Ultimately, however, the Court does not need to decide the correct application of
Rule 12(b)(3) to this issue. Mr. Adams’s motion raises an important issue—he claims that
the government agreed not to prosecute him for any matters relating to the tax years in
dispute but has now reneged on that promise. Although the Court rejects his argument
and recommends that the motion be denied, the Court thinks that reaching its merits is the
best path forward.

                                       Recommendation
       Based on the foregoing, the Court makes the following recommendation:

             1. The Defendant’s Motion to Dismiss Counts 15–17 of the Superseding
                Indictment [ECF No. 241] should be DENIED.


7
       If the Court were to address the issue of good cause for the late filing of this motion, it
would be hard pressed to rule in Mr. Adams’s favor on this point. The Court is unpersuaded that
the government’s theory of the case for the tax counts has changed much, if at all, since the first
motions were filed. And it is difficult to imagine that, if counsel really believed the Closing
Agreement precluded prosecution for matters related to the tax returns from 2008–2010, they
wouldn’t have filed a motion to dismiss on that basis at the first opportunity. They have certainly
known of the agreement all along.


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        2. Ordinarily, a party has 14 days to file an objection to a magistrate judge’s
           report and recommendation and a party may respond to those objections
           another 14 days later. See Local Rule 72.2. Because the motion to dismiss
           was only recently filed and fully briefed, and because trial in this matter is
           set for November 4, 2019, the time for objections is shortened. Objections
           to this report and recommendation shall be filed within 7 days after being
           served a copy of the R&R. Any response to those objections shall be filed
           within 7 days of being served with a copy of the objections.


Date: October 3, 2019                           s/Katherine Menendez
                                                Katherine Menendez
                                                United States Magistrate Judge




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